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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


DONNA CURLING, ET AL.,

Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,

Defendants.

                   COALITION PLAINTIFFS’ MOTION
                   FOR PRELIMINARY INJUNCTION

      Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs

Coalition for Good Governance, William Digges III, Laura Digges, Megan

Missett, and Ricardo Davis (the “Coalition Plaintiffs”) move the Court to enter a

preliminary injunction:

      1.      Directing the Defendants to conduct all elections after January 1, 2020

using hand-marked paper ballots as the primary method of recording the electors’

votes; provided, however, that Defendants shall not be prohibited from using

electronic or other appropriate voting units for persons with disabilities;

      2.      Modifying this Court’s August 15, 2019 Order (Doc. 579) to permit

the use of AccuVote optical scanners and the Diebold GEMS election management



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system where hand marked paper ballots are used as the primary method of voting.

Thus, the hand marked paper ballots may be counted by hand or by permissible

optical scanners that are state-certified components of either Georgia’s Dominion

Voting System (as defined in footnote 1)1 or the Diebold GEMS voting system;

       3.     Enjoining Defendants from enforcing O.C.G.A. § 21–2–300(a)(2),

O.C.G.A. § 21–2–383(c), or any other law or regulation, that requires Georgia

voters to vote using Dominion BMDs (as defined in footnote 1) or any other

electronic ballot marking device;

       4.     Directing the Secretary to direct election superintendents to conduct

audits of all county, state and federal elections after January 1, 2020 that use hand

marked paper ballots processed by optical scanners. Such audits shall be manual

audits and shall be conducted based on the tallies of hand marked paper ballots

prior to the certification of the election results by the county election board;

       5.      Directing the State Defendants, within 14 days of the entry of the

Court’s Order, to file a plan (“the Proposed Audit Plan”) describing the specific


1
  As used in Coalition Plaintiffs’ Motion papers, the term “Georgia’s Dominion Voting System”
includes each of the components listed in the Secretary’s August 9, 2019 Certification, a copy of
which is attached as Exhibit A, and the KNOWiNK PollPad Plus electronic pollbook, certified
October 11, 2019, see Exhibit B. Dominion ImageCast X Prime (ICX BMD) Ballot Marking
Device, which is part of Georgia’s Dominion Voting System, will sometimes be referred to
specifically as the “Dominion BMD.” The KNOWiNK PollPad Plus electronic pollbook device,
which is a part of Georgia’s Dominion Voting System, will sometimes be referred to specifically
as the “PollPad Electronic Pollbook.”


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steps the State Defendants intend to take to comply with the terms of the Court’s

Order and to institute pre-certification, post-election, manual tabulation audits of

the paper ballots to verify election results, in sufficient detail for the Court to

evaluate its adequacy. The Proposed Audit Plan shall be based on well-accepted

audit principles that assure a high probability that incorrect outcomes will be

detected and remedied. The Proposed Audit Plan shall include instructions to the

county election superintendents to address errors or irregularities detected in the

post-election audit, including instructions on escalating the audit, further

investigation of errors, and the method of correcting error;

      6.     Providing that Plaintiffs shall have 14 days after the filing of the

Proposed Audit Plan to file a response to the Proposed Audit Plan, and that the

Court, after a hearing if necessary, will then determine the adequacy of the

Proposed Audit Plan;

      7.     Directing the Defendants to take all necessary action to ensure that

there is no information recorded on any electronic record (including, but not

limited to, any scanner or touchscreen machine, DRE electronic ballot, memory

cards, ballot card of a ballot marking device, including the Dominion BMD) that,

alone or in combination with other records or information, may be used to identify

the individual who cast a particular ballot. Such electronic record includes



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timestamps of the time the ballot was scanned or the chronological sequence in

which ballots were cast. The prohibition shall include information recorded by any

ballot scanner or ballot marking device, used separately or in conjunction with

other voting system components;

      8.     Directing the Secretary to file, within 21 days of the entry of this

Court’s Order, a report (“the Ballot Secrecy Report”) describing the actions taken

to comply with the foregoing provision and providing that Plaintiffs shall have 14

days of the filing of the Ballot Secrecy Report to file a response thereto and the

Court, after a hearing if necessary, will then determine whether further relief is

merited;

      9.     Directing Defendant Secretary of State to direct every county election

superintendent (a) to provide at each polling place a paper back-up of the pollbook,

which paper back-up shall be updated after early voting and (b) to use the paper

back-up of the pollbook to adjudicate voter eligibility and precinct assignment

problems;

      10.    Directing the Secretary to file, within 21 days of this Court’s Order, a

report on the PollPad Electronic Pollbook (as defined in footnote 1) (“the PollPad

Electronic Pollbook Report”) that: (a) addresses actions taken to date or that will

be taken to ensure that past operating problems with the Diebold ExpressPoll do



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not recur in the PollPad Electronic Pollbooks; (b) describes any operational

problems of encountered with the PollPad Electronic Pollbooks in the 2019 pilot

elections, including an analysis of the source of the problems and actions that the

Secretary has taken or will take to remediate the problems; and (c) describes the

polling place security of the voter registration database and the pollbook data

during early voting and Election Day voting, particularly focused on wi-fi and

Bluetooth connections of voting system components in the polling places. The

Electronic Pollbook Report shall include an opinion from a cybersecurity expert on

the security of the voter registration database as it relates to potential unauthorized

access from polling places, integration with the new electronic pollbooks, and the

security of epollbook data;

      11.    Directing the Secretary to file, within 21 days of this Court’s Order, a

report on the implementation progress for deployment and readiness of Georgia’s

Dominion Voting System (the “Implementation Report”) which should include a

detailed implementation and testing plan; a report on equipment delivery,

installation, programming, and testing; and problems anticipated and encountered

and the results of the pilot elections.;

      12.    Providing that Plaintiffs shall have 14 days of the filing of the

Electronic Pollbook Report and the Implementation Report to file a response to



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both reports. The Court, after a hearing if necessary, will then determine whether

further relief is merited;

      13.    Scheduling a hearing, either separately or in conjunction with any

hearing on the above-referenced reports, and if necessary take evidence, on the

State’s compliance with all terms of the Court’s Order, and to direct the State

Defendants, ten days prior to such a hearing, to file a Compliance Report

describing all efforts undertaken to comply with the terms of this Order; and,

      14.    Granting such other and further relief as equity and law may require.

       Pursuant to Rule 65(d), the Coalition Plaintiffs have filed with this Motion a

proposed order stating the reasons why it should issue, the terms specifically, the

acts restrained and required, and the persons to be bound thereby.

      Pursuant to Rule 7.1A of the Local Rules of the Northern District of Georgia,

and Part III (a) of this Court’s Standing Order, the Coalition Plaintiffs have filed

herewith a brief citing legal authorities supporting the motion and the facts relied

upon, together with supporting declarations and exhibits. Attached to the brief are

declarations from the following:

             A. Philip Stark

             B. Kevin Skoglund

             C. Marilyn Marks



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     D. Megan Misset

     E. Ricardo Davis

     F. Laura Digges

     G. William Digges


     Respectfully submitted this 23rd day of October, 2019.

/s/ Bruce P. Brown                        /s/ Robert A. McGuire, III
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                  Counsel for Coalition for Good Governance




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/s/ Cary Ichter                         /s/ John Powers
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Laura Digges, Ricardo Davis
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Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14.

                                            /s/ Bruce P. Brown
                                            Bruce P. Brown




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Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on October 23, 2019, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                               /s/ Bruce P. Brown
                                               Bruce P. Brown




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